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Original

UD-105
ATTORNEY = PARTY WITHOUT aT eee STATE BAR NUMBER: FOR COURT USE ONLY
NAME: Shi Thong Liang
oe 315 San Antonio Road
STREET ADDRESS:
CITY: Arcadia STATE: CA ZIP CODE:91007 Fi LE D : .
TELEPHONE NO.: FAX NO.: Supe Court of California
EMAIL ADDRESS: ounty of Los Angeles
ATTORNEY FOR (name): Self-Represented J UN 9 1 2023
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
s ADDRESS: . :
vanie aponese, eee rast Walnut Ave. David W. Slayton, Executive Officer/Clerk of Court
city ano zip cove: Pasadena, CA 91101 By: O. Rodriguez, Deputy
BRANCH NAME: Pasadena Courthouse- Northeast District [x]
PLAINTIFF: Cole Harris
DEFENDANT: Shi Zhongliang
ANSWER—UNLAWFUL DETAINER one eel
23PDUD01940

1. Defendant (all defendants for whom this answer is filed must be named and must sign this answer unless their attorney signs):
Shi Zhongliang

answers the complaint as follows:
2. DENIALS (Check ONLY ONE of the next two boxes.)

a. General Denial (Do not check this box if the complaint demands more than $1,000.)
Defendant generally denies each statement of the complaint and of the Mandatory Cover Sheet and Supplemental
Allegations—Unlawful Detainer (form UD-101).

b. C_] Specific Denials (Check this box and complete (1) and (2) below if complaint demands more than $1,000.)
Defendant admits that all of the statements of the complaint and of the Mandatory Cover Sheet and Supplemental
Allegations—Unlawful Detainer (form UD-101) are true EXCEPT:

(1) Denial of Allegations in Complaint (Form UD-100 or Other Complaint for Unlawful Detainer)
(a) Defendant claims the following statements of the complaint are false (state paragraph numbers from the complaint or
explain below or, if more room needed, on form MC-025):
[___] Explanation is on form MC-025, titled as Attachment 2b(1)(a).

(b) Defendant has no information or belief that the following statements of the complaint are true, so defendant denies
them (state paragraph numbers from the complaint or explain below or, if more room needed, on form MC-025):

{___] Explanation is on form MC-025, titled as Attachment 2b(1)(b).

(2) Denial of Allegations in Mandatory Cover Sheet and Supplemental Allegations—Unlawful Detainer (form UD-101)

(a) C Defendant did not receive plaintiffs Mandatory Cover Sheet and Supplemental Allegations (form UD-101). (/f
not checked, complete (b) and (c), as appropriate.)

(b) [J Defendant claims the statements in the Verification required for issuance of summons—residential, item 3
of plaintiffs Mandatory Cover Sheet and Supplemental Allegations (form UD-101), are false.

(c) Defendant claims the following statements on the Mandatory Cover Sheet and Supplemental Allegations—Unlawful
Detainer (form UD-101) are false (state paragraph numbers from form UD-101 or explain below or, if more room
needed, on form MC-025): [—_] Explanation is on form MC-025, titled as Attachment 2b(2)(c).

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Judicial Council of California ANSWER—UNLAWFUL DETAINER : :

1161 et seq., 1179.01 et seq.

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PLAINTIFF: cole Harris CASE NUMBER:
DEFENDANT: shi zhongliang 23PDUD01940

2. b. (2) (d) Defendant has no information or belief that the following statements on the Mandatory Cover Sheet and Supplemental
Allegations—Unlawful Detainer (form UD-101) are true, so defendant denies them (state paragraph numbers from
form UD-101 or explain below or, if more room needed, on form MC-025):

[__] Explanation is on form MC-025, titled as Attachment 2b(2)(d).

3. DEFENSES AND OBJECTIONS (NOTE: For each box checked, you must state brief facts to support it in item 3w (on page 4) or, if
more room is needed, on form MC-025. You can lear more about defenses and objections at
www. courts. ca.gov/selfhelp-eviction.htm )

a. {| (Nonpayment of rent only) Plaintiff has breached the warranty to provide habitable premises.

b. C_] (Nonpayment of rent only) Defendant made needed repairs and properly deducted the cost from the rent, and plaintiff did
not give proper credit.

c. C_] (Nonpayment of rent only) On (date): before the notice to pay or quit expired, defendant offered
the rent due but plaintiff would not accept it.

d. | Plaintiff waived, changed, or canceled the notice to quit.

e. Plaintiff served defendant with the notice to quit or filed the complaint to retaliate against defendant.

f. : By serving defendant with the notice to quit or filing the complaint, plaintiff is arbitrarily discriminating against the

defendant in violation of the Constitution or the laws of the United States or California.

g. fe Plaintiffs demand for possession violates the local rent control or eviction control ordinance of (city or county, title of
ordinance, and date of passage): Cx Veedta Cyayren ce-S
(Also, briefly state in item 3w the facts showing Vidlation of the ordinance.)

h. [[_] Plaintiff's demand for possession is subject to the Tenant Protection Act of 2019, Civil Code section 1946.2 or 1947.12,
and is not in compliance with the act. (Check all that apply and briefly state in item 3w the facts that support each.)

(1) L_] Plaintiff failed to state a just cause for termination of tenancy in the written notice to terminate.

(2) [] Plaintiff failed to provide an opportunity to cure any alleged violations of terms and conditions of the lease (other than
payment of rent) as required under Civil Code section 1946.2(c).

(3) C] Plaintiff failed to comply with the relocation assistance requirements of Civil Code section 1946.2(d).

(4) [J Plaintiff has raised the rent more than the amount allowed under Civil Code section 1947.12, and the only unpaid rent
is the unauthorized amount.

(5) C_] Plaintiff violated the Tenant Protection Act in another manner that defeats the complaint.

i. {_] Plaintiff accepted rent from defendant to cover a period of time after the date the notice to quit expired.

j. C_] Plaintiff seeks to evict defendant based on an act against defendant or a member of defendant's household that
constitutes domestic violence, sexual assault, stalking, human trafficking, or abuse of an elder or a dependent adult. (This
defense requires one of the following: (1) a temporary restraining order, protective order, or police report that is not
more than 180 days old; OR (2) a signed statement from a qualified third party (e.g., a doctor, domestic violence or
sexual assault counselor, human trafficking caseworker, or psychologist) concerning the injuries or abuse resulting from
these acts).)

k. C ] Plaintiff seeks to evict defendant based on defendant or another person calling the police or emergency assistance (e.g.,
ambulance) by or on behalf of a victim of abuse, a victim of crime, or an individual in an emergency when defendant or
the other person believed that assistance was necessary.

1. C_] Plaintiffs demand for possession of a residential property is in retaliation for nonpayment of rent or other financial
obligations due between March 1, 2020, and September 30, 2021, even though alleged to be based on other reasons.
(Civ. Code, § 1942.5(d); Gov. Code, § 12955.)

m. C_] Plaintiffs demand for possession of a residential property is based on nonpayment of rent or other financial obligations
due between March 1, 2020, and September 30, 2021, and (check all that apply):

(1) CL] Plaintiff did not serve the general notice or notices of rights under the COVID-19 Tenant Relief Act as required by
Code of Civil Procedure section 1179.04.

(2) C | Plaintiff did not serve the required 15-day notice. (Code Civ. Proc., § 1179.03(b) or (c).)

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DEFENDANT: Shi Zhongliang 23PDUD01940

3. m. (3) Cc] Plaintiff did not provide an unsigned declaration of COVID-19-related financial distress with the 15-day notice. (Code
Civ. Proc., § 1179.03(d).)
(4) LC] Plaintiff did not provide an unsigned declaration of COVID-19-related financial distress in the language in which the
landlord was required to provide a translation of the rental agreement. (Code Civ. Proc., § 1179.03(d).)

(5) [ } Plaintiff identified defendant as a “high-income tenant’ in the 15-day notice, but plaintiff did not possess proof at the
time the notice was served establishing that defendant met the definition of high-income tenant. (Code Civ. Proc.,
§ 1179.02.5(b).)
(6) ] Defendant delivered to plaintiff one or more declarations of COVID-19-related financial distress and, if required as a
"high-income tenant," documentation in support. (Code Civ. Proc., §§ 1179.03(f) and 1179.02.5.)

(Describe when and how delivered and check all other items below that apply):

(a) C_] Plaintiffs demand for payment includes late fees on rent or other financial obligations due between March 1,
2020, and September 30, 2021.

(b) [] Plaintiffs demand for payment includes fees for services that were increased or not previously charged.

(c) {| Defendant, on or before September 30, 2021, paid or offered plaintiff payment of at least 25% of the total rental
payments that were due between September 1, 2020, and September 30, 2021, and that were demanded in the
termination notices for which defendant delivered the declarations described in (a). (Code Civ. Proc.,

§ 1179.03(g)(2).)

(7) C_] Defendant is currently filing or has already filed a declaration of COVID-19-related financial distress with the court.
(Code Civ. Proc., § 1179.03(h).)

n. C_] Plaintiffs demand for possession of a residential property is based on nonpayment of rent or other financial obligations
due between October 1, 2021, and March 31, 2022, and (check all that apply):

(1) Cc] Plaintiffs notice to quit was served before April 1, 2022, and
(a) L_] Did not contain the required contact information for the pertinent governmental rental assistance program, or the
other content required by Code of Civil Procedure section 1179.10(a).
(b) C] Did not did not include a translation of the statutorily required notice. (Code Civ. Proc., § 1179.10(a)(2) and Civ.
Code, § 1632.)

(2) [_] Plaintiffs notice to quit was served between April 1, 2022, and June 30, 2022, and did not contain the required
information about the government rental assistance program and possible protections, as required by Code of Civil
Procedure section 1179.10(b).

oO. CL] For a tenancy initially established before October 1, 2021, plaintiffs demand for possession of a residential property is
based on nonpayment of rent or other financial obligations due between March 1, 2020, and March 31, 2022, and (check
all that apply):

(1) [] Plaintiff did not complete an application for rental assistance to cover the rental debt demanded in the complaint
before filing the complaint in this action.

(2) Plaintiff's application for rental assistance was not denied.

(3) Plaintiffs application for rental assistance was denied for a reason that does not support issuance of a summons or
judgment in an unlawful detainer action (check all that apply):

(a) [| Plaintiff did not fully or properly complete plaintiffs portion of the application. (Code Civ. Proc.,
§ 1179.09(d)(2)(A).)
(b) C_] Plaintiff did not apply to the correct rental assistance program. (Code Civ. Proc., § 1179.09(d)(2)(C).)

(4) [ An application for rental assistance was filed before April 1, 2022, and the determination is still pending.

(5) Rental assistance has been approved and tenant is separately filing an application to prevent forfeiture (form UD-125).

p. Plaintiffs demand for possession of a residential property is based on nonpayment of rent or other financial obligations
and (check all that apply):

(1) {| Plaintiff received or has a pending application for rental assistance from a governmental rental assistance program or
some other source relating to the amount claimed in the notice to pay rent or quit. (Health & Saf. Code,
§§ 50897.1(d)(2)(B) and 50897.3(e)(2).)

(2) C_] Plaintiff received or has a pending application for rental assistance from a governmental rental assistance program or
some other source for rent accruing since the notice to pay rent or quit. (Health & Saf. Code, §§ 50897.1(d)(2)(B) and
50897.3(e)(2).)

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3. p. (3) [] Plaintiffs demand for possession is based only on late fees for defendant's failure to provide landlord payment within
15 days of receiving governmental rental assistance. (Health & Saf. Code, § 50897.1(e)(2)(B).)

q. L_] Plaintiff violated the COVID-19 Tenant Relief Act (Code Civ. Proc., § 1179.01 et seq.) or a local COVID-19-related
ordinance regarding evictions in some other way (briefly state facts describing this in item 3w).

r. C_] The property is covered by the federal CARES Act and the plaintiff did not provide 30 days' notice to vacate.
(Property covered by the CARES Act means property where the landlord:

* is participating in a covered housing program as defined by the Violence Against Women Act;
* is participating in the rural housing voucher program under section 542 of the Housing Act of 1949; or
* has a federally backed mortgage loan or a federally backed multifamily mortgage loan.)

Ss. {_] Plaintiff improperly applied payments made by defendant in a tenancy that was in existence between March 1, 2020, and
September 30, 2021 (Code Civ. Proc., § 1179.04.5), as follows (check all that apply):

(1) [] Plaintiff applied a security deposit to rent, or other financial obligations due, without tenant's written agreement.

(2) [] Plaintiff applied a monthly rental payment to rent or other financial obligations that were due between March 1, 2020,
and September 30, 2021, other than to the prospective month’s rent, without tenant’s written agreement.
t. Cc] Plaintiff refused to accept payment from a third party for rent due. (Civ. Code, § 1947.3; Gov. Code, § 12955.)

u. Cc] Defendant has a disability and plaintiff refused to provide a reasonable accommodation that was requested.
(Cal. Code Regs., tit. 2, § 12176(c).)

v. [X_] Other defenses and objections are stated in item 3w.
w. (Provide facts for each item checked above, either below or, if more room needed, on form MC-025):
[___] Description of facts or defenses are on form MC-025, titled as Attachment 3w.

See Attachment 3w.

4. OTHER STATEMENTS

a. Defendant vacated the premises on (date):
b. The fair rental value of the premises alleged in the complaint is excessive (explain below or, if more room needed, on
form MC-025):

[___] Explanation is on form MC-025, titled as Attachment 4b.

Breach of Warranty of Habitability. See Attachment 3w.

c. [__] Other (specify below or, if more room needed, on form MC-026):
{___] Other statements are on form MC-025, titled as Attachment 4c.

5. DEFENDANT REQUESTS
a. that plaintiff take nothing requested in the complaint.
costs incurred in this proceeding. _

b.
c. [X] reasonable attorney fees. d\ t ve Net +»)
d

that plaintiff be ordered to (1) make repairs and correct the conditions that constitute a breach of the warranty to provide
habitable premises and (2) reduce the monthly rent to a reasonable rental value until the conditions are corrected.

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5. e. Other (specify below or on form MC-025):
[__] All other requests are stated on form MC-025, titled as Attachment 5e.
1. Reinstatement of the tenancy or in the alternative relief from forfeiture per CCP Section 1179.
2. An order sealing the record after dismissal or judgment.
3. If breach of warranty of habitability is plead, the Court to retain jurisidiction over this matter until all repairs and
corrections are made.
4. Any addtional relief the court deems proper.

Tt

UNLAWFUL DETAINER ASSISTANT (Bus. & Prof. Code, §§ 6400-6415)

7. (Must be completed in all cases.) An unlawful detainer assistant [X_] didnot [|] did for compensation give advice or
assistance with this form. (/f defendant has received any help or advice for pay from an unlawful detainer assistant, State):

6. Number of pages attached:

a. Assistant's name: b. Telephone number:
c. Street address, city, and zip code:

d. County of registration: e. Registration number: f. Expiration date:

(Each defendant for whom this answer is filed must be named in item 1 and must sign this answer unless defendant's attorney signs.)

Shi Zhongliang x Z houg he u J, S Ay

(TYPE OR PRINT NAME) (SIGRATURE OF F DEFEND YT OR ATTORNEY)

(TYPE OR PRINT NAME) (SIGNATURE OF DEFENDANT OR ATTORNEY)

(TYPE OR PRINT NAME) (SIGNATURE OF DEFENDANT OR ATTORNEY)
VERIFICATION

(Use a different verification form if the verification is by an attorney or for a corporation or partnership.)

| am the defendant in this proceeding and have read this answer. | declare under penalty of perjury under the laws of the State of
California that the foregoing is true and correct.

Date: 6/21/2023

Shi Zhongliang x zk aa Y (i pug Shr

(TYPE OR PRINT NAME) i“ SIGNATURE OF DEFENDANT)
Date:
(TYPE OR PRINT NAME) (SIGNATURE OF DEFENDANT)
Date:
(TYPE OR PRINT NAME) (SIGNATURE OF DEFENDANT)
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DEFECTIVE NOTICE

The notice that is the basis of this action is defective because:

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It did not clearly demand possession and/or it is not in the alternative.

It did not declare a forfeiture (cancellation) of the lease or rental agreement.

It did not adequately describe the property.

It was not served on defendant.

It was a different notice than the one plaintiff attached to the complaint. (CCP §1166(b)(A).)

It was not served on the date that plaintiff alleges in the complaint. (CCP §1166(a)(5).)

Notice was not served properly per CCP §1162:

It was posted on the door and not mailed, or[__] mailed and not posted.

[_]It was given to a minor at the subject premises.

[_]It was given to an adult other than defendant and not mailed to defendant.

It demands more rent than defendant owed because:
[___] there are/were uninhabitable conditions which reduces the rent owed.

[_] Plaintiff failed to give credit for [7] rent paid and/or (___] repairs paid for by defendant.
LC __] Plaintiff illegally increased the rent.

[-_] It demanded late fees or other non-rental charges (CC §1671(d).)

[__] It demanded rent for a period beyond one year. (CCP §1161.)

[__] Other:
Defendant tendered the rent in a manner directed by the plaintiff. Therefore, plaintiff cannot
demand additional rent from defendant. (CC §1476, CCP §1161.5.)

It does not identify(__] an address or [[_] telephone number (or if rent is requested in

person, (_Javailable days of the week or [[_Jhours) where the rent can be paid. (CCP §1161.)
It was served before the rent was late.

It did not give defendant 3 days to pay rent because:

[the notice cannot expire on a weekend or holiday. (CCP §12a.)
[__]the notice cannot expire on the same day it was served. (CCP §1161(2).)

[Plaintiff only accepts rent on the weekdays but counted Saturday and/or Sunday.

It does not give defendant 30 days to move. (CC §1946.1)

It does not give defendant 60 days to move. (CC § 1946.1.)

It does not give defendant 90 days to move. (CC §1954.535; Protecting Tenants at
Foreclosure Act extended to Dec. 31, 2014 by Dodd-Frank Wall Street Reform and Consumer
Protection Act)

It was based on a breach of covenant but did not specify what defendant must do to cure

the breach and/or it did not give defendant 3 days to cure the breach. (CCP §1161(3).)

It was based on a breach of covenant/nuisance but failed to describe the act with specificity.
(CCP §1161.)

Defendant was unable to contact plaintiff within the notice period due to plaintiff's action and/or
failure to act and was, therefore, prevented from paying the rent demanded.

(CC §1511.)

It violated the Fair Debt Collection Practices Act because a non-owner is collecting the rent for
the owner without providing a proper debt validation notice. (15 U.S.C. § 1962.)

DEFECTIVE COMPLAINT

The complaint was not verified or improperly verified. (CCP §1166.)

The complaint was filed before the expiration of the notice because:

[J the notice was served on 4 and, therefore, did not expire until[— id.
[__] the notice was not served at all or [Jit was not properly served.

The notice was not attached to the complaint (CCP § 1166(c)(1)(A).)

The unlawful detainer is based upon a cause of action other than nonpayment of rent and
Plaintiff failed to attach the rental agreement to the complaint. (CCP § 1166(c)(1)(B).)

The Complaint fails to state a cause of action for an unlawful detainer because plaintiff did not

complete the necessary information in paragraph(s) ©, 7,8 12,134] (CCP §1166.)
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ATTACHMENT 3W Page] |
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BREACH OF WARRANTY OF HABITABILITY

The amount of rent demanded in the notice and/or the daily rental value demanded in the
complaint is excessive because Plaintiff has failed to provide habitable premises as required by
Civil Code §1941.1 and/or Health and Safety Code §17920.3, of which the plaintiff had actual
and/or constructive notice and which are listed by way of example and not limitation:

0 Damp/leaking ceiling or walls CO Missing/broken smoke detectors

CO Falling plaster/peeling paint Infestation of roaches/rodents/insect/vermin

CO Lack of/Inadequate heat tO Common areas unclean

C0 Lack of/Inadequate hot water ( Inadequate trash receptacles/collection

C0 Defective/Inadequate gas services CO Unsafe stairways/railings

CO Missing/broken windows or doors C Inadequate security locks

CO Missing/torn window screens Cc Defective electrical wiring

O Hole(s) in walls/floor/carpet C—O Lead Hazards

cg Defective/leaking Plumbing O Mold

O Other: [ |

The conditions above have existed and have not been repaired for 60 days after notice from a
government agency inspector, creating a presumption that plaintiff breached the warranty of
habitability.
Plaintiff may not increase, demand or collect rent when uninhabitable conditions exist(ed) and
have not been repaired/abated within 35 days after written notice from a public officer or
employee to repair or abate them. (CC §1942.4.)
The dwelling/unit contains serious health, safety, fire or building code violations, for which a
citation was issued by a governmental agency and has not been abated for 6 months or longer.
(CC § 1954.52.)
Plaintiff has failed to obtain a valid certificate of occupancy for the premises making the unit unfit
for residential habitation. The premises is “an illegal unit” and thus the lease is an
unenforceable contract.

REPAIR AND DEDUCT

Defendant does not owe the rent demanded because defendant paid for and deducted from the

rent the cost of repairs which plaintiff knew were needed and failed to provide within a

reasonable time. (CC §1942(a).)

Plaintiff and defendant agreed [__]verbally or [_] in writing that defendant could repair the

conditions in the unit and deduct the cost of repairs from the rent. (CC §1942.1.)

Defendant made a payment to a utility and, therefore, was allowed to deduct such payment from

the rent. (Public Utilities Code §§10009-10009.1, §§ 12822-12822.1, §§16481-16481.1;

CC §1942.2.)

Other: | |
RENT ESCROW ACCOUNT PROGRAM (REAP) (LAMC §162.00 et. seq.)

Less than a year has passed since the subject property was placed into REAP, and plaintiff has
unlawfully increased the rent during that time. (LAMC §162.09(A).)

The plaintiff has filed the unlawful detainer without first checking in writing if defendant has

paid rent into REAP. (LAMC §162.09(A)(2).)

The property was removed from REAP less than 180 days before the filing of this complaint,
and the plaintiff is attempting to evict defendant without good cause. (LAMC §151.09(A).)
Defendant has made a payment into REAP for the rent demanded; therefore, the plaintiff may
Not demand additional rent from defendant. (LAMC §162.09(A)(1).) 1
Other: |

ATTACHMENT 3W PageL——] “)_
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Other:|

ESTOPPEL

Plaintiff was aware of the facts regarding defendant’s purported breach and acted so as to lull
defendant info believing that the alleged breach was acceptable to plaintiff. Defendant
reasonably relied on plaintiffs acts and failure to act to the detriment of defendant and
defendant was ignorant of plaintiffs true intentions.

Plaintiff made an oral agreement with defendant that the rent demanded in the notice could be
paid at a later date, upon which defendant detrimentally relied.

Plaintiff and defendant entered into a written agreement that the rent demanded in the notice
could be paid at a later date, upon which defendant detrimentally relied.

Plaintiff has waived the alleged breach and is estopped from prosecuting this action because
defendant has paid rent and detrimentally relied on the waiver.

WAIVER

Plaintiff, with full knowledge of defendant's alleged breach and the facts surrounding said
breach, intentionally waived and relinquished the right to declare a breach or forfeiture of the
tenancy.
Within the notice period, defendant timely tendered the full amount of the rent demanded to the
plaintiff, and said tender was accepted by the plaintiff.
Rent was accepted by the plaintiff after the notice expired; lessor has accordingly waived the
breach and the notice and created a new tenancy. (CCP §1161.5.)
Plaintiff has accepted late payment of rent in the past and so waived the alleged breach.
Plaintiff has accepted partial payment of rent in the past and so waived the alleged breach.
Plaintiff accepted rent with actual and/or constructive knowledge of the alleged breach. As a
result, plaintiff has waived the alleged breach. (CCP §1161.5.)
Within the notice period, defendant timely tendered the full amount of rent demanded by
plaintiff, but said tender was refused. Said tender extinguished tenant’s obligation to pay rent.
(CC § 1485.)

RETALIATION
Plaintiff may not recover possession, to retaliate against defendant, within 180 days of:
(Defendant complaining to a governmental agency/ agencies concerning tenant ability.
(CC 1942.5.)
(Defendant complaining to the plaintiff or plaintiff's agent concerning tenantability.
(CC §1942.5.)
[For otherwise asserting defendant's rights. (CC § 1942.5.)

DISCRIMINATION
Plaintiff is discriminating against defendant in violation of the Constitution and laws of the
United States, and/or State and local laws, on the basis of:

—Race cGender CNational Origin [Age
(Sexual Orientation [Religion CFamily Status [Source of Income
cDisability cPresence of Children in Household c Other: |

DISCRIMINATION FOR FAILURE TO PROVIDE REASONABLE ACCOMMODATION

Defendant is a qualified person with a disability. Defendant asserts that plaintiff was aware of
defendant's disability. Accommodation is necessary to afford defendant equal opportunity to use
and enjoy their home. Defendant requested but plaintiff failed to provide a reasonable
accommodation (Fair Housing Act (“FHAA”) 42 U.S.C. §3604, California Fair Employment and
Housing Act (“FEHA”) California Government Code §§ 12900, et seq., Rehabilitation Act § 504
of 1973, 42 U.S.C. § 1214, et. seg. (“Americans with Disabilities Act.”)

ATTACHMENT 3W PageL___] 3
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OWNERSHIP AND STANDING
Defendant was not notified of the change in ownership, which prevented payment of rent.
(CC §1962.)
Defendant paid rent to former owner before receiving notice of the change of ownership.
(CC §1111.)
A landlord/tenant relationship does not exist between plaintiff and defendant.
Plaintiff's claim of title and right to possession is based on a void or voidable instrument.
Title to the subject property is in dispute.
Plaintiff is not the owner of the subject premises and, therefore, lacks standing to evict
defendant.
Plaintiff is not the owner of the subject premises and does not correctly state its authority to sue
on behalf of the actual owner. (CCP §367.)
Plaintiff is an individual but wrongfully brought this action using a business name.
Plaintiff is a[__|Corporation,[___]LP, or [__]LLC but did not bring the suit under its legal name.
Plaintiff is a Corporation, LP, or LLC and must be represented by an attorney. (Business &
Professions Code § 1625.)
Plaintiff is a Corporation/LP/LLC that does not have the capacity to bring this action because:
[_]lt is not registered with the California Secretary of State. (Revenue & Taxation Code
§23301.)
[__]It is suspended as a business entity with the California Secretary of State. (Id.)
MISCELLANEOUS
Plaintiff cannot demand that the rent be paid only in cash or electronic transfer. (CC§ 1947.3.)
Plaintiff has violated the Implied Covenant of Good Faith and Fair Dealing.
Plaintiff has violated the Implied Covenant of Quiet Enjoyment.
Defendant is entitled to a 30-day notice and possible relocation benefits.
This action is barred by a prior judgment or because another action is pending upon the same
cause of action. (CCP § 597.)
Defendant requests that the court take judicial notice of the following cases:
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The parties negotiated the written lease agreement in a language other than English, however,
the written contract is in English. (Civil Code § 1632, et seq.)
Plaintiff is displacing defendant using State or Federal funds and has not complied with the
State Relocation Act, and/or Federal Uniform Relocation Act and/or the Housing and
Community Development Act of 1974. (Gov't Code §§ 7260-7277, 25 CCR §§ 6000, et seq., 24
CFR Part 42; 42 U.S.C. 420-4655; 49 CFR Part 24 49 CFR §104(d), 42 U.S.C. §§5301, et seq.;
49 CFR §§24.2, et seq.)
Defendant has/have filed for bankruptcy, case #[ ]. Therefore, plaintiff cannot
[-_]commence an unlawful detainer action against defendant or [take further steps to
prosecute. (11 U.S.C. §362(a)(1), (2), & (3).)
CALIFORNIA ANTI-TENANT HARASSMENT PROVISIONS
Plaintiff had engaged in conduct resulting in Theft (PC §484(a)) of defendant’s property and/or
Extortion (PC § 518) of defendant. (CC § 1940.2(a)(1) & 1940.2(a)(2).)
Plaintiff used (or threatened to use) force, willful threats, or menacing conduct that interfered
with defendant’s quiet enjoyment of the premises because it created an apprehension of harm
to defendant. (CC §§ 1927 & 1949.2(a)(3).)
Plaintiff committed a significant and intentional violation entry or Notice of
Entry into the unit and/or inspection of defendant's unit to harass defendant or otherwise invade
defendant's privacy and/or personal security. (CC §§ 1954 and 1940.2(a)(4).)
Plaintiff willfully caused the interruption or termination of utility services (including but not limited
to water, heat, light, electricity, gas, telephone, elevator, or refrigeration) (CC § 789.3(a).)
Plaintiff prevented defendant from gaining reasonable access to the property by changing
the locks, removing outside doors/windows, and /or otherwise removing defendant's personal
property, furnishing or other items without defendant’s consent. (CC § 789.3(b).)

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LA COUNTY AND CITY ANTI-HARASSMENT ORDINANCES Los Angeles Code §52.130 or LAMC §45.30

The dwelling unit is (1) located in-—Jan unincorporated area of Los Angeles County and (2)
not otherwise exempted by State law or other provisions thereof or-—the dwelling unit is
located within the City of Los Angeles, and:
Plaintiff reduced/ eliminated housing services required by the lease, rental agreement or
applicable laws.
Plaintiff failed to perform, and timely complete necessary repairs and maintenance required by
law or failed to follow applicable industry standards to minimize exposure to materials such as
noise, dust, lead paint, asbestos, etc. that potentially cause harmful health impacts.
Plaintiff abused its right to access to defendant’s home CC §1954, which includes entering
or photographing portions of a rental unit that are beyond the scope of a lawful entry/inspection.
Plaintiff threatened defendant by word or gesture, with physical harm.
Plaintiff attempted to coerce defendant to vacate with offer(s) of payments.
Plaintiff misrepresented that defendant is required to vacate or enticed defendant to vacate
through an intentional misrepresentation or omission of a material fact.
Plaintiff threatened or took action to terminate the tenancy by causing (1) service of any notice
to quit or other eviction notice and/or (2) this action to recover possession of the rental
unit based on facts that the plaintiff has no reasonable cause to believe to be true.
Plaintiff threatened or engaged in an act or omission that interferes with the tenant’s right to use
and enjoy the rental unit or otherwise rendered the unit unfit for human habitation and
occupancy.
Plaintiff refused to acknowledge or accept lawful rent payments as set forth in the lease
agreement or established by the usual practice of the parties or law.
Plaintiff inquired as to immigration or citizenship status of defendant or occupant or required
a statement, representation or certification concerning defendant's immigration or citizenship
status.
Plaintiff disclosed or threatened to disclose information about a defendant to a government
entity for engaging in legally protected activities or to influence Defendant to vacate.
Plaintiff engaged in activity prohibited by federal, state or local housing anti-discrimination laws.
Plaintiff retaliated against, threatened or interfered with defendant’s organizing
activities including forming or participating in defendant associations and unions.
Plaintiff interfered with defendant's right to privacy or requested information that violates
defendant's right to privacy.
Plaintiff engaged in other repeated acts or omissions of such significance to substantially
interfere with or disturb the comfort, repose, peace or quiet of defendant and that cause or are
likely to cause or are committed with the objective to cause a defendant to surrender or waive
any rights in relation to the tenancy.

DOMESTIC VIOLENCE
Plaintiff has unlawfully terminated defendant’s tenancy in violation of the Violence Against
Women Act and Department of Justice Reauthorization Act. (42 U.S.C. §14043, et. seq.)
(“VAWA’). Defendant is a victim of domestic violence. Plaintiff has alleged nuisance pursuant to
CCP §1161(4).
Defendant is a victim of domestic violence and plaintiff is evicting defendant in violation of Civil
Code § 1946.7.
Plaintiff's claims are barred by protections under the VAWA (42 U.S.C. §14043, et. seq.)
Defendant is a victim of domestic violence. Defendant's tenancy with plaintiff is subsidized by
the U.S. Department of Housing and Urban Development (HUD”). Plaintiff is a covered entity
under VAWA. Plaintiffs actions against defendant fail to protect her housing interest, and/or
respond appropriately to domestic violence, and constitute discrimination against defendant as
an abuse survivor. (42 U.S.C. §14043e-1.)

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This eviction is based on non-payment of rent owed between 3/4/2020 and 9/30/21. Thus, this
case should be permanently masked or remain permanently confidential. (CCP §§1161.2 and
1161.2.5.)
Plaintiff failed to file a declaration stating that it did not receive rental assistance or that there is
no pending application for rental assistance for rent accruing during the period stated in the
notice of non-payment and/or after the period. (CCP §50897.3(e)(2).)
This eviction is based on unpaid rent that accumulated due to Covid-19 related financial
distress, and defendant is concurrently submitting or shall submit verification that defendant has
filled their obligations with respect to rental assistance. Thus, the court shall prevent forfeiture
of the lease or rental agreement. (CCP §1179.13)
Plaintiff is wrongfully evicting defendant for rental debt owed between 3/1/ 2020 and 8/31/2020.
Defendant timely provided the required declaration(s) of COVID-19 financial distress to plaintiff.
(CCP §§1179.03(g)(2)(A-B).)
Plaintiff is wrongfully evicting defendant for rental debt owed between 9/1/2020 and 9/30/21.
Defendant timely provided the required declaration(s) of Covid-19 financial distress to plaintiff
and timely paid at least 25% of the total rent due for that period. (Id.) Plaintiff filed this case to
retaliate against defendant for lawfully delaying payment of rent. (CCP
Plaintiff filed this case to retaliate against defendant for lawfully delaying payment of rent. (CCP
§1942.5.)

FEDERAL CARES ACT

The premises are a “covered dwelling” under the Federal Cares Act Sec. 4024(a), and plaintiff
failed to give defendant a 30-day notice for the underlying eviction action.

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TENANT PROTECTION ACT OF 2019 (Civ. Code §§ 1946.2, 1947.12, 1947.13)

The premises are subject to the Tenant Protection Act of 2019 (“TPA”) because (1) defendant
has occupied the premises for 12 months or more, (2) the unit was built more than 15 years ago
and (3) not otherwise exempted under the law.

Plaintiff does not state and/or has just cause basis for the eviction (CC §1946.2(b)(1).)
Plaintiff does not state or has “no fault just cause” for eviction. (CC §1946.2(b)(2).)

Plaintiff is not proceeding in good faith in recovering possession. (CC §§1946.2, et. seq.)
Plaintiff has not served defendant with a first written notice of the violation with a 3-business
day opportunity to cure the violation pursuant to CCP §1161(3) before serving a secondary
notice to quit or filing the unlawful detainer. (CC §1946.2(c).)

Plaintiff did not serve a secondary 3-day notice to quit without an opportunity to cure. (Id.)
Plaintiff has filed to provide relocation assistance under “no fault just cause” by either (1)
providing a direct relocation payment or (2) waiving in writing the payment of rent for the final
month of tenancy, prior to the rent becoming due. (CC §1946.2(d)(1)(A)(B).)

Even though the plaintiff claims they are exempted from the “just cause” provisions of the

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TPA, defendant or occupants were not provided written notice of that exemption from the
plaintiff, nor was it provided in the lease contract. (CC §1946.2(d)(8)(B)(i).)

Plaintiff failed to provide notice to defendant or add a similar addendum to the lease or rental
agreement notifying defendant that their unit is subject to the requirements of the TPA. ( CC
§1946.2(f)(3).)

The rent demanded exceeded the legal amount that could be demanded under the TPA.

(CC §1947.12.)

Even though the plaintiff claims that they are exempted from the rent limit provision of the TPA,
defendant or occupants were not provided written notice of that exemption from the plaintiff nor
was it provided in the lease contract. (CCP §1947.12(d)(5)9B)(i).)

The tenancy existed prior to March 15, 2019, and Plaintiff failed to “roll back” or revert to the
March 15, 2019, rental amount or has charged in excess of the “roll back” amount given the
provided increases were allowable under the TPA. (CCP §§1947.12(h)(1), (2), (3).)

WHEREFORE, Defendant prays for judgment as follows:
Plaintiff take nothing by way of this action and possession be denied to plaintiff;

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Cc.

Pursuant to statue or contract, plaintiff be ordered to pay defendant attorney fees and costs in
this action;

If defendant paid plaintiff returnable deposits, defendant) requests that the court deduct those
amounts from the judgment, if any.

If the defense of habitability was pleaded, defendant also pray for the following:

Plaintiff be ordered to make all repairs and to correct all defective conditions per CCP §1174.2;
Defendant's rent be reduced until all repairs and corrections to the premises are completed per
CCP §1174.2;

The court retains jurisdiction of this case until all court ordered repairs and conditions are
completed; and

d. The Court record shall be sealed.

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